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15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA
                                         OAKLAND DIVISION
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19    HUMU, INC.                                    Case No. 4:19-cv-00327-HSG

20                  Plaintiff,                      DEFENDANT HULU, LLC’S NOTICE
                                                    OF MOTION AND MOTION TO
21           v.                                     DISMISS HUMU, INC.’S FIRST
                                                    AMENDED COMPLAINT FOR
22    HULU, LLC,                                    DECLARATORY JUDGMENT AND
                                                    SUPPORTING MEMORANDUM OF
23                  Defendant.                      POINTS AND AUTHORITIES

24                                                  Hearing Date: May 2, 2019
                                                    Time: 2:00 p.m.
25                                                  Dept. Courtroom 2, 4th Floor
                                                    Judge: Hon. Haywood S. Gilliam
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                          DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1                                   NOTICE OF MOTION AND MOTION

 2   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on May 2, 2019 at 2:00 p.m. at the Oakland Courthouse,

 4   Courtroom 2, Fourth Floor, or as soon thereafter as the matter may be heard, before the Honorable

 5   Haywood S. Gilliam, United States District Judge for the Northern District of California, Defendant

 6   Hulu, LLC, (“Hulu”) will and hereby does move for dismissal of Plaintiff Humu, Inc.’s (“Humu”)

 7   First Amended Complaint.

 8          Defendant seeks dismissal of the above-referenced complaint under Federal Rule of Civil

 9   Procedure 12(b)(1) for lack of subject-matter jurisdiction. Hulu has provided Humu with a covenant

10   not to sue. As a result, there is no case or controversy between the parties such that this Court would

11   have subject-matter jurisdiction over this case. This Motion is based on this Notice of Motion and

12   Motion, the accompanying Memorandum of Points and Authorities, the accompanying Declaration

13   of Dale M. Cendali, the papers on file in this matter, the arguments of counsel, and any other matter

14   the Court wishes to consider.

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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION
 3           Humu’s declaratory judgment action seeks relief that this Court does not have jurisdiction to

 4   grant. To bring a declaratory judgment claim of non-infringement or non-dilution, a declaratory

 5   judgment plaintiff must show that there is a live case and controversy between the parties with

 6   regard to the plaintiff’s actual use of the trademark at issue or a similar use that it is prepared to

 7   launch immediately. There is no such case or controversy here because Hulu already covenanted not

 8   to sue Humu on its current uses, and even on any similar future uses, and thus this Court has no

 9   jurisdiction.

10           Humu made clear in its Original Complaint (Dkt. No. 1) that it is using the HUMU trademark

11   only in connection with business-to-business human resources services. See Compl. ¶¶ 1, 13. In fact

12   Humu emphasized this fact to underscore that its services are unrelated to Hulu’s consumer-focused

13   subscription-based streaming video and entertainment services. Id. ¶¶ 16–17. Hulu does not take

14   issue with those uses and, on March 11, 2019, Hulu “unconditionally and irrevocably” covenanted

15   not to sue Humu for the uses described in Humu’s Original Complaint or similar business-oriented

16   services. When Humu was provided with Hulu’s covenant, its immediate response was to file a

17   near-identical First Amended Complaint (Dkt. No. 26) without including any reference to the

18   covenant and adding vague goods and services descriptions from Humu’s trademark applications

19   along with claims that it may offer those goods and service at an unidentified point in the future.

20           When a covenant not to sue like Hulu’s is provided to a declaratory judgment plaintiff like

21   Humu, no subject-matter jurisdiction exists to hear the plaintiff’s declaratory judgment claims. See

22   Already, LLC v. Nike, Inc., 568 U.S. 85 (2013) (controversy mooted by nearly identical covenant).

23   The language Humu added to its complaint does not save this matter from dismissal. Humu’s real

24   interest is in an advisory ruling by this Court that any future use of the HUMU mark, including for

25   unspecified consumer-oriented video services, would not be infringing. Humu’s amendment merely

26   adds extraneous allegations that, at some unspecified date in the future, it might offer additional

27   goods or services. 1st Am. Compl. ¶ 14. It does not identify any service that Humu is presently

28   offering, or has taken concrete steps to offer in the near future, that would fall outside of the

                                                         -1-
                     DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   covenant. Vague allegations of an intent to engage in a trademark use at some unknown future date

 2   are insufficient to establish a case or controversy. Sobini Films v. Tri-Star Pictures Inc., No. 01 Civ.

 3   06615, 2001 WL 1824039, at *4 (C.D. Cal. Nov. 21, 2001) (to show actual case or controversy

 4   surrounding future product offerings, plaintiff must show that it is prepared to immediately begin

 5   production but for a finding of infringement).

 6           Humu’s position, and its transparent attempt to save its case by amending its complaint in the

 7   face of Hulu’s covenant, are untenable. Given that Humu’s sole basis for seeking a declaratory

 8   judgment of non-infringement and non-dilution has been mooted by Hulu’s covenant, this Court now

 9   lacks subject-matter jurisdiction and Humu’s First Amended Complaint should be dismissed.

10   Moreover, as Humu already has had the opportunity to amend its complaint with an understanding

11   that this Court lacks jurisdiction, the Complaint should be dismissed in its entirety with prejudice.

12   II.     FACTUAL AND PROCEDURAL BACKGROUND
13           Launched in 2008, Hulu is a popular subscription-based streaming video services provider

14   offering online streaming of television shows and movies, comprised of both original and licensed

15   content, over the Internet at its website, www.hulu.com, and via portable and handheld Internet-

16   enabled devices such as tablets and smartphones, to individual and family subscribers. 1st Am.

17   Compl. ¶ 17. Hulu offers its services at a retail-consumer level to individuals and families that

18   subscribe to a monthly subscription service. Id. According to the Complaint, “Hulu does not offer

19   services related to human resources or employee happiness and retention.” Id. Among Hulu’s

20   common law and federally registered trademarks are those for the HULU word mark and HULU

21   (stylized) marks. Hulu’s federally-registered trademarks include Reg. Nos. 3,878,144 (Classes 35,

22   38, 41, and 42); 4,129,912 (Classes 35, 38, 41, and 42); 4,317,326 (Classes 35, 38, and 41);

23   4,614,054 (Classes 9, 35, 38, and 41); and 4,649,516 (Class 9) (collectively, “Hulu Marks”).

24   Id. ¶ 19.

25           Humu calls itself a startup “people sciences company,” founded in 2017, that “applies

26   analytics and machine-learning to support human resource activities.” 1st Am. Compl. ¶¶ 1, 10.

27   Humu purports to target large business enterprises and organizations to utilize its research-based

28   tools “to motivate employees,” “improve employee happiness,” and drive “high morale and

                                                       -2-
                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   employee retention” (the “Alleged Humu Services”). Id. ¶ 13. Humu claims to engage exclusively

 2   in business-to-business transactions, marketing its services “directly to business executives in a

 3   variety of venues.” Id.

 4           The Alleged Humu Services rely on Humu’s “Nudge Engine” technology, which combines

 5   “scientifically-validated and actionable questions with cutting-edge, comprehensive demographic

 6   analytics to develop a thorough understanding of every team within a company or organization.”

 7   Id. ¶ 10. Humu’s “Nudge Engine” provides its users with “nudges,” which constitute “short

 8   messages conveying individualized advice or suggestions” so that “the company can take the right

 9   actions at the right time.” Id. According to Humu, the Alleged Humu Services “are not off-the-

10   shelf,” but rather are “provided through an ongoing services contract that is generally managed by

11   business executives or human resource managers,” often “at the highest executive levels of Humu’s

12   clients.” Id. ¶ 15.

13           On May 2, 2017, Humu filed with the USPTO four applications to register the HUMU word

14   mark: (1) Application Serial No. 87/433,016 in International Class 35 to cover, among other things,

15   “[h]uman resource services, namely, collecting, analyzing, reporting, and providing data and

16   feedback from employees for purposes of improving employee performance, employee retention,

17   and corporate culture” and “[h]uman resources research and consultation services focusing on

18   helping clients analyze, respond to, and make process improvements based on employee data and

19   feedback;” (2) Application Serial No. 87/433,012 in International Class 9 for services including

20   “[d]ownloadable software for surveying, tracking, gathering, monitoring, and analyzing employee

21   feedback and human resources data;” (3) Application Serial No. 87/433,020 in International Class 41

22   including “[l]eadership development training in the field of human resources and personnel

23   management;” and (4) Application Serial No. 87/433,022 in International Class 42 including

24   “[s]oftware as a service (SAAS) featuring software for use in gathering and analyzing human

25   resources research and employee surveys” (collectively, the “Humu Applications”).1

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     1
27           On March 12, 2018, Hulu filed a Notice of Opposition with the Trademark Trial and Appeal
     Board (“TTAB”) opposing the registration of the Humu Applications. The TTAB proceedings
28   relating to the Humu Applications are currently stayed pending the outcome of this federal litigation.

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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1          On December 20, 2017, Hulu sent a cease and desist letter (the “Hulu Letter”) to Humu

 2   regarding the Humu Applications. See Declaration of Dale M. Cendali (“Cendali Decl.”) Ex. 1.

 3   Hulu pointed out as a primary concern in the Hulu Letter that the Humu Applications were “filed

 4   based on Section 1(b) of the Lanham Act (Intent-to-Use).” Id. Ex. 1, at 2. In other words, because

 5   the Humu Applications sought to cover unknown future business activities, they did not make it

 6   clear that Humu’s business would be the type of business-to-business human resources activities

 7   described in the Complaint. The Hulu Letter also drew attention to the similarity of appearance of

 8   the mark that Humu chose to use on its website to Hulu’s own Hulu mark as used on

 9   www.hulu.com, which caused Hulu concern:

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     Id.
13
            After Hulu sent its letter, Humu significantly changed its website, and altered its logo for the
14
     HUMU mark to a new mark:
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     Humu made this change in the context of ongoing communications between the parties starting with
18
     the Hulu Letter and continuing until Humu filed its Original Complaint. During those discussions,
19
     both parties gained a better understanding of the other’s business and the associated use of its marks.
20
            Without warning, Humu filed its Original Complaint on January 18, 2019. The Original
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     Complaint claimed that there is an ongoing dispute involving the Alleged Humu Services, and went
22
     to great lengths to contrast Humu’s business-to-business human resources services with Hulu’s
23
     direct-to-consumer video and entertainment services in an effort to show the Court that Hulu had no
24
     basis to claim likelihood of confusion.
25
            On March 11, 2019, Hulu provided Humu with a covenant not to sue (the “Covenant”).
26
     Cendali Decl. Ex. 2. Under the Covenant, Hulu acknowledges the Alleged Humu Services as
27
     described in Paragraph 10 of the Original Complaint (which were not changed in the First Amended
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                                                       -4-
                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   Complaint). Id. at 1. It further acknowledges that Humu:

 2          “asserts that Humu markets services under the HUMU mark to business executives and
            describes its target customers as ‘large business enterprises and organizations interested in
 3
            implementing researched-based tools to motivate employees across the organization to take
 4          small steps to improve employee happiness, which in turn drives high morale and employee
            retention’ (collectively, the ‘Humu Customers’).”
 5

 6   Id. Having made these acknowledgements, Hulu then gave Humu a very broad covenant not to sue

 7   Humu for the good and services at issue in the complaint or any similar goods and services, either in

 8   the past or in the future. Specifically, Hulu:

 9          “unconditionally and irrevocably covenants to refrain from making any claim(s) or
            demand(s), or from commencing, causing, or permitting to be prosecuted any action in law
10          or equity, against Humu or any of its parents, subsidiaries, divisions, related companies,
11          affiliated companies, licensees, independent contract manufacturers, assigns, and/or other
            related business entities, as well as any of their predecessors, successors, directors, officers,
12          employees, agents, distributors, attorneys, representatives, and employees of such entities
            acting on their behalf and all customers of each of the foregoing (whether direct or indirect),
13          on account of any possible cause of action based on or involving trademark infringement,
            unfair competition, or dilution, under state or federal law in the United States relating to
14          the Hulu Marks based on Humu’s use of the HUMU mark in the manner described in the
15          Complaint in connection with the Humu Services offered to the Humu Customers, or in
            connection with any other goods or services similar to the Humu Services marketed
16          directly to the Humu Customers, regardless of whether those goods or services are
            produced, distributed, offered for sale, advertised, sold, or otherwise used in commerce
17          before or after the Effective Date of this Covenant.”
18   Id. at 1–2 (emphasis added).

19          After providing Humu with the Covenant, Hulu explained that the Covenant resolves this

20   litigation and asked Humu whether it would voluntarily dismiss the Original Complaint. On March

21   12, 2019, Humu responded by indicating that it was considering the Covenant. Cendali Decl. Ex. 3.

22   Later that day, rather than dismiss its Original Complaint, Humu filed the First Amended Complaint,

23   without explanation. A redline reflecting the marginal changes between the Original Complaint and

24   the First Amended Complaint is attached as Exhibit 4 to the Cendali Declaration. The minimal

25   material added to the First Amended Complaint merely adds a reference to the vague goods and

26   services descriptions from the Humu Applications and claims that it may offer them at an

27   unidentified point in the future. 1st Am. Compl. ¶ 14; see also Cendali Decl. Ex. 4. The First

28   Amended Complaint does not mention Hulu’s Covenant.

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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
     III.   THIS COURT LACKS SUBJECT-MATTER JURISDICTION OVER HUMU’S
 1          CLAIMS
 2          A.      A Party Seeking Relief Under The Declaratory Judgment Act Must Show A Live
                    Case Or Controversy Involving A Matter Independently Within The Court’s
 3                  Jurisdiction
 4          “It is a fundamental principle that federal courts are courts of limited jurisdiction.”

 5   Crossbow Tech., Inc. v. YH Tech., No. 03 Civ. 4360, 2007 WL 174422, at *2 (N.D. Cal.

 6   Jan. 22, 2007). Moreover, a “federal court is presumed to lack jurisdiction in a particular case unless

 7   the contrary affirmatively appears.” Id. (quoting Gen. Atomic Co. v. United Nuclear Corp., 655 F.2d

 8   968, 969 (9th Cir. 1981)). The Declaratory Judgment Act provides that “in a case of actual

 9   controversy” a federal court “may declare the rights and other legal relations of any interested party

10   seeking such declaration, whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a)
11   (emphasis added). In an action for declaratory relief, “the plaintiff must establish two basic
12   requirements: (1) the court has federal subject matter jurisdiction over the claims and (2) an actual
13   case or controversy exists.” Id.; Wham-O, Inc. v. Manley Toys, Ltd., No. 08 Civ. 7830, 2009 WL
14   6361387, at *2 (C.D. Cal. Aug. 13, 2009). The Declaratory Judgment Act, however, “does not
15   provide litigants with an independent jurisdictional basis for suits in a federal court.” Id. Instead,
16   “there must be a source of federal jurisdiction external to the Declaratory Judgement Act,” id., and
17   “the burden rests on the party asserting federal subject matter jurisdiction to prove its existence.”

18   Crossbow, 2007 WL 174422, at *2 (emphasis added). In addition, the “actual controversy must be

19   extant at all stages of review, not merely at the time the complaint is filed.” Crossbow Tech., Inc. v.

20   YH Tech., 531 F. Supp. 2d 1117, 1120 (N.D. Cal. 2007).

21          Where no “definite and concrete” case or controversy exists, the dispute seeks “an advisory

22   opinion based on ‘a hypothetical state of facts.’” Sobini Films, 2001 WL 1824039, at *2 (internal

23   citation omitted). Such a dispute “fails to invoke federal court jurisdiction.” Id. The declaratory

24   judgment procedure “is available in the federal courts only in cases involving an actual case or

25   controversy . . . and it may not be made the medium for securing an advisory opinion in a

26   controversy which has not arisen.” Coffman v. Breeze Corps., 323 U.S. 323, 324 (1945) (internal

27   citations omitted). Pursuing an advisory opinion in this manner, as Humu does here, “go[es] against

28   the very purpose of the Declaratory Judgment Act.” Spicy Beer Mix, Inc. v. New Castle Beverage,

                                                        -6-
                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   No. 14 Civ. 00720, 2014 WL 7672167, at *6 (C.D. Cal. Aug. 1, 2014).

 2          Under Federal Rule 12(b)(1), “a defendant may seek to dismiss a complaint for lack of

 3   subject matter jurisdiction.” Salois v. Medifast, Inc., No. 17 Civ. 1810, 2018 WL 1083466, at *4

 4   (S.D. Cal. Feb. 28, 2018); see also, Fed. R. Civ. P. 12(b)(1). A challenge to jurisdiction under

 5   Federal Rule 12(b)(1) may be “either facial or factual.” White v. Lee, 227 F.3d 1214, 1242 (9th

 6   Cir. 2000) (citation omitted). In a factual challenge, “the challenger disputes the truth of the

 7   allegations that, by themselves, would otherwise invoke federal jurisdiction.” Spicy Beer Mix, 2014

 8   WL 7672167, at *3 (internal citation omitted). Where, as here, a defendant challenges jurisdiction

 9   based on a covenant not to sue sent to the plaintiff, the challenge to jurisdiction is factual. Id.

10   (citation omitted). When considering a factual jurisdictional attack, “the district court is not

11   restricted to the face of the pleadings, but may review any evidence, such as affidavits and

12   testimony, to resolve factual disputes concerning the existence of jurisdiction,” including a covenant

13   not to sue. Id. (quoting McCarthy v. United States, 850 F.2d 558, 560 (9th Cir. 1988)). Moreover,

14   the court “need not presume the truthfulness of the plaintiffs’ allegations.” White, 227 F.3d at 1242.

15          B.      A Broad Covenant Not To Sue That Moots The Underlying Controversy
                    Deprives The Court Of Jurisdiction
16
            Humu’s First Amended Complaint should be dismissed pursuant to Federal Rule 12(b)(1)
17
     because Humu cannot meet its burden to show subject-matter jurisdiction. Hulu’s Covenant
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     resolved any actual case or controversy that undergirded Humu’s declaratory judgment claims. “A
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     case becomes moot—and therefore no longer a ‘[c]ase’ or ‘[c]ontroversy’ for purposes of Article
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     III—‘when the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in
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     the outcome.’” Nike, 568 U.S. at 91. A covenant not to sue moots a declaratory judgment action
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     based on a defendant’s intellectual property enforcement activities where the covenant is “broad and
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     unrestricted” enough to make clear that the defendant’s complained-of enforcement efforts “cannot
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     reasonably be expected to recur.’” Spicy Beer Mix, 2014 WL 7672167, at *5; see also Nike, 568
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     U.S. at 95 (covenant not to sue mooted case where defendant’s efforts to enforce its trademark
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     against plaintiff made clear that the complained-of enforcement efforts allegedly giving rise to an
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     actual controversy could “reasonably be expected to recur”). This is so even where the covenant is
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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   unilaterally granted. Spicy Beer Mix, 2014 WL 7672167, at *2, *5; see also Nike, 568 U.S. at 98–

 2   99; Salois, 2018 WL 1083466, at *4 (“[T]he agreement of the plaintiff is not required to moot a

 3   case.”).

 4          When considering whether a covenant not to sue eliminates a justiciable case or controversy

 5   in a declaratory judgment action, courts look to the totality of the circumstances, including “(1) the

 6   language of the covenant, (2) whether the covenant covers future, as well as past, activity and

 7   products, and (3) evidence of intention . . . on the part of the party asserting jurisdiction, to engage in

 8   [conduct] not covered by the covenant.” Spicy Beer Mix, 2014 WL 7672167, at *5 (citing Nike, Inc.

 9   v. Already, LLC, 663 F.3d 89, 96 (2d Cir. 2011), aff’d, 568 U.S. 85 (2013)). Declaratory judgment

10   complaints are dismissed as moot based on covenants not to sue when the covenants are

11   (a) unconditional and irrevocable, (b) reach beyond the specific parties in suit, and (c) apply to both

12   present conduct and similar conduct in the future. See Nike, 568 U.S. at 93; Spicy Beer Mix, 2014

13   WL 7672167, at *5 (covenant not to sue mooted declaratory judgment claims where covenant was

14   unconditional and irrevocable, reached beyond specific parties in suit, and applies to both present

15   conduct alleged and similar future conduct); USANA Health Scis., Inc. v. SmartShake US, Inc.,

16   No. 17 Civ. 00139, 2018 WL 2709215, at *7 (D. Utah June 5, 2018) (same).

17          Here, Hulu’s Covenant mirrors the covenant that the Supreme Court held mooted the Nike

18   case and thus meets each of the factors identified by the Nike court. Hulu’s Covenant is

19   “unconditional[],” and “irrevocabl[e]” just like in Nike. Compare Cendali Decl. Ex. 2, at 1 with

20   Nike, 568 U.S. at 93; Spicy Beer Mix, 2014 WL 7672167, at *5 (“irrevocable and unconditional”

21   covenant removed jurisdiction from court, resulting in dismissal with prejudice). Also like the Nike

22   covenant, Hulu agrees to refrain from “making any claim(s) or demand(s)” on account of any

23   possible cause of action based on or involving trademark infringement, unfair competition, or

24   dilution based on Humu’s use of the HUMU mark as alleged in the Original Complaint. Compare

25   Cendali Decl. Ex. 2, at 1 with Nike, 568 U.S. at 93. Moreover, Hulu’s Covenant extends beyond the

26   parties in suit to cover a variety of persons affiliated with Humu, including its employees and agents,

27   just as the covenant did in Nike. Id.; Spicy Beer Mix, 2014 WL 7672167, at *5 (covenant not to sue

28   that included “[Plaintiffs’] employees, distributors, and customers” mooted case). Finally, like the

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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   covenant in Nike, Hulu’s Covenant covers “any possible cause of action based on or involving

 2   trademark infringement, unfair competition, or dilution, under state or federal law” related to all of

 3   Humu’s actual uses of the HUMU mark, as well as to any future uses of the HUMU mark in

 4   connection with similar goods or services marketed to the customers that Humu identified initially in

 5   its Original Complaint as its target market. Compare Cendali Decl. Ex. 2, at 1 with Nike, 568 U.S.

 6   at 93. Accordingly, Hulu’s Covenant provides ample assurance to Humu that Humu’s alleged actual

 7   uses of the HUMU mark described in the First Amended Complaint will not be the subject of a

 8   lawsuit by Hulu, and thus the First Amended Complaint should be dismissed. See Crossbow, 2007

 9   WL 174422, at *3 (granting motion to dismiss for lack of jurisdiction where covenant not to sue

10   cross-referenced list of products provided by declaratory judgment counterclaimant); Spicy Beer

11   Mix, 2014 WL 7672167, at *5 (covenant not to sue mooted declaratory judgment claims where it

12   was sufficiently broad that defendants’ patent enforcement efforts against plaintiff could not

13   reasonably be expected to recur); USANA Health Scis., Inc., 2018 WL 2709215, at *7 (covenant not

14   to sue mooted action for declarations of trademark non-infringement and invalidity and for

15   cancellation).

16          C.        Humu’s Possible Offering of Vaguely-Defined Services At An Unspecified
                      Future Date Do Not Provide A Basis for Jurisdiction
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            Humu’s inclusion, in its First Amended Complaint, of a vague description of the products
18
     and services that it “already offers or intends to offer during the reasonably expected pendency of
19
     this litigation” tellingly does not specify which additional products and services it “already offers”
20
     and which it “intends to offer” at some unknown time in the future. 1st Am. Compl. ¶ 14. Such
21
     vague allegations do not suffice to create an actual case or controversy sufficient to ground a
22
     declaratory judgment action. To establish a case or controversy based on future product or service
23
     offerings, the plaintiff must have “engaged in preparations for production such that ‘but for a finding
24
     that the product infringes or for extraordinary and unforseen contingencies, the plaintiff would and
25
     could begin production immediately.’” Sobini, 2001 WL 1824039, at *4 (internal citations omitted);
26
     see also Swedlow, Inc. v. Rohm & Haas Co., 455 F.2d 884, 886–87 (9th Cir. 1972) (to ground
27
     declaratory judgment action, plaintiff must have both immediate capability and intent to produce
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                      DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   allegedly infringing item, otherwise court’s decision would “amount to an advisory opinion”); Royal

 2   Palm Filmworks, Inc. v. Fifty-Six Hope Rd. Music, Ltd., No. 17 Civ. 2336, 2017 WL 4685550, at *5

 3   (C.D. Cal. Aug. 17, 2017), aff’d, 747 F. App’x 624 (9th Cir. 2019) (holding that “if a court were to

 4   entertain declaratory relief based on an unfinished work, ‘the relief requested would necessarily take

 5   the form of an advisory opinion’” (internal citation omitted)).

 6          Humu does not allege any facts about concrete steps taken to prepare to launch these vaguely

 7   defined intended goods or services or the intended launch date—let alone facts indicating that it

 8   could immediately launch these intended goods or services. In doing so, it essentially seeks an

 9   advisory opinion outside the scope of this Court’s jurisdiction. Sobini Films, 2001 WL 1824039, at

10   *5–6 (finding plaintiff was “impermissibly requesting an advisory opinion” based on plaintiff’s

11   “lack of concrete steps toward” the activity described in its complaint). Humu’s vague allegations

12   thus do not and cannot establish a case or controversy sufficient to ground a declaratory judgment

13   action. Id. at *4 (no case or controversy regarding plaintiff’s right to use ZORRO mark and produce

14   film based on Zorro treatment where plaintiff alleged that it incurred preliminary costs but had not

15   hired a writer for screenplay or entered preliminary agreements with parties integral to commencing

16   production of film); Royal Palm Filmworks, 2017 WL 4685550, at *5 (no actual case or controversy

17   to support suit for declaration of non-infringement of copyright or trademark where neither

18   complaint nor exhibits disclosed when plaintiff would begin production of the contested film).2

19   Were this Court to rule now, “it would simply be rendering an advisory opinion based solely upon

20   [Humu’s] assertion” that it intends to engage in the activities described in the First Amended

21   Complaint. Sobini Films, 2001 WL 1824039, at *7–8 (finding “Plaintiff has not taken sufficient

22   steps to establish a case or controversy entitling it to a declaratory judgment action.”).

23          D.      The Pending TTAB Proceedings Concerning Registration Do Not Provide A
                    Basis For Jurisdiction
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            The stayed TTAB proceedings regarding the Humu Applications also do not create a basis
25
     for jurisdiction in this Court. When faced with similar circumstances, courts consistently have found
26
     2
27           Should Humu attempt to offer evidence of any steps taken to launch any new goods or
     services that it asserts are not covered by Hulu’s Covenant, Hulu reserves its right to seek
28   jurisdictional discovery into such claims.

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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1   that, even where such TTAB proceedings exist between the parties to a federal litigation, no

 2   independent basis for jurisdiction exists. Wham-O, 2009 WL 6361387, at *4. The Wham-O court,

 3   as here, was faced with a declaratory judgment action filed “in response to cancellation and

 4   opposition proceedings initiated by Defendants before the TTAB” and, finding “no infringement

 5   claims or any other legal claims between the parties and the Marks involved in this action,” found

 6   “no threatened action on the part of the Defendants sufficient to establish an independent basis for

 7   jurisdiction” where “the TTAB proceedings [could not] be construed as a potential claim for

 8   infringement.” Id. In so doing, the Wham-O court cited National Cable Television Association v.

 9   America Cinema Editors, Inc., in which the court determined that “an objection to registration does

10   not legally equate with an objection to use, that is, a charge of infringement.” 937 F.2d 1572, 1581

11   (Fed. Cir. 1991). Similarly, in Homemakers, Inc. v. Chicago Home for the Friendless, the Seventh

12   Circuit affirmed the district court’s decision to dismiss the plaintiff’s declaratory judgment action

13   requesting injunctive relief against the defendant’s TTAB proceeding regarding its

14   HOMEMAKERS’ mark, finding that the defendant’s cancellation petition did not provide a basis for

15   jurisdiction where there was no independent charge of infringement. 169 U.S.P.Q. 262, 263 (7th

16   Cir. 1971), cert. denied, 404 U.S. 831 (1971). Accordingly, the TTAB proceedings alone do not

17   create jurisdiction in this Court.

18   IV.     CONCLUSION
19           For the foregoing reasons, Hulu requests that this Court dismiss Humu’s First Amended

20   Complaint in its entirety with prejudice, just as the Nike court dismissed Already’s complaint after

21   Nike provided its covenant not to sue.

22

23   Dated: March 26, 2019                                 Respectfully submitted,
24                                                         KIRKLAND & ELLIS LLP
25
                                                           /s/ Dale M. Cendali
26
                                                           Attorneys for Defendant Hulu, LLC
27
                                                           Email: dale.cendali@kirkland.com
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                    DEFENDANT HULU, LLC’S NOTICE OF MOTION AND MOTION TO DISMISS
 1                                    CERTIFICATE OF SERVICE

 2          On March 26, 2019, I electronically filed the foregoing with the Clerk of the Court by using

 3   CM/ECF system which will send a notice of electronic filing to all persons registered for ECF. All

 4   copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1 have been so served.

 5
                                                         /s/ Dale M. Cendali
 6                                                          Dale M. Cendali
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